                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR07-2006-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                  ON MOTION TO SUPPRESS
 LESLIE GOCHA,
               Defendant.
                                 ____________________


       On April 19, 2007, the grand jury returned a Superseding Indictment charging the
defendant Leslie Gocha with conspiracy to distribute 500 grams or more of
methamphetamine, in violation of 21 U.S.C. § 846; being an unlawful user of controlled
substances in possession of a firearm, in violation of 18 U.S.C. § 922(g)(3); and
possession of firearms in furtherance of a drug trafficking crime, in violation of 18 U.S.C.
§ 924(c). (See Doc. No. 13, Superseding Indictment.) On June 1, 2007, Gocha filed a
motion to suppress and a request for a hearing pursuant to Franks v. Delaware, 438 U.S.
154, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978). (Doc. No. 22.) The plaintiff (the
“Government”) resisted the motion on June 16, 2007. (Doc. No. 26.)
       The trial management order in this case assigned motions to suppress to the
undersigned for consideration, the holding of any necessary hearings, and the filing of a
report and recommended disposition. (Doc. No. 7, § IV.A.) Accordingly, the court held
a hearing on the motion on June 25, 2007, at which Assistant U.S. Attorney C.J. Williams
represented the Government, and Gocha was present in person with his attorney, Leon F.
Spies. The Government offered the testimony of Mitchell County Sheriff’s Deputies Jeff
Huftalin and Greg Beaver, and Iowa State Trooper Charles McNally, Jr. Gocha offered
the testimony of Aaron Hermen and Hillary Hermen, and he testified on his own behalf.
The court admitted into evidence the following exhibits: Gov’t Ex. 1, report of Mike


    Case 6:07-cr-02006-LTS-MAR         Document 32      Filed 07/03/07    Page 1 of 16
Niemeyer, Assistant Chief of the Osage, Iowa, Police Department; Gov’t Ex. 2, Iowa
Incident Report; Gov’t Ex. 3, handwritten statement of Niky L. Lewis; Gov’t Ex. 4, report
of Deputy Greg Beaver; Gov’t Ex. 5, application for search warrant for a residence on
360th Street in Osage, Iowa (the “New Haven property”); Gov’t Ex. 6, report of forensic
search of computers by the Iowa State University laboratory; Gov’t Ex. 7, application for
search warrant for computer-related items; Gov’t Ex. 8, report of Deputy Jeff Huftalin;
Gov’t Ex. 9, report of Iowa State Trooper Greg Salier; Gov’t Ex. 10, aerial photograph
of the New Haven property; Gov’t Ex. 11, photographs of items seized; and Gov’t Ex. 12,
permission to search form signed by Niky L. Lewis.
      The Government submitted a supplemental resistance to the motion on June 27,
2007. (Doc. No. 30.1) Gocha filed a supplemental memorandum in support of his motion
to suppress on June 28, 2007. (Doc. No. 31.)
      The court finds the motion is fully submitted and ready for decision.


                                 FACTUAL BACKGROUND
      The following facts are not disputed by the parties. In October 2006, Gocha and
Niky Lewis lived together on the New Haven property, located on the edge of New Haven,
a small town in Mitchell County, Iowa. They were not married, but had lived together on
the New Haven property for about five years with their son, Braxtin. Lewis worked as the
“Jail Captain” for the Mitchell County Jail, and Gocha did some work in a shop building
located on the New Haven property. The New Haven property included a house, the shop
building, and some other buildings.
      On the morning of October 21, 2006, Aaron Hermen and his sister, Hillary Herman,
arrived at the New Haven property to see Gocha. At about 10:30 a.m., Lewis drove up to


       1
        The Government filed a supplemental resistance on June 26, 2007 (Doc. No. 29), but revised the
supplemental resistance the next day (Doc. No. 30).

                                                 2


    Case 6:07-cr-02006-LTS-MAR             Document 32        Filed 07/03/07      Page 2 of 16
the shop on the New Haven property with her younger sister and Braxtin. Lewis began
knocking on the door to the shop, which was locked. When Gocha heard Lewis at the
door, he had Hillary Herman hide in the attic. Aaron Hermen then opened the door and
let Lewis in. Lewis had never seen Aaron before. She asked him where Gocha was, and
he told her Gocha was sleeping in the back. Lewis went to the back of the shop and found
Gocha. Lewis and Gocha then had a heated argument. During the argument, Lewis
accused Gocha of being a drug addict. Eventually, Lewis told Aaron Hermen to leave the
property. Aaron left the shop building and sat on a blue car parked in the driveway. When
Lewis again told Aaron to leave, he stated he was waiting for someone.
      At some point during the argument between Lewis and Gocha, there was some
unwanted physical contact. Lewis locked herself in her car with her sister and Braxtin, and
called 911. While listening to a police scanner in the shop, Gocha heard that the police
were on their way to the property. He called 911 to tell the police there was no reason for
them to come, but when his efforts were unsuccessful, he told Aaron to remain in the shop
building and he went outside.2
      Deputy Huftalin arrived at the scene first, at around noon, and met Gocha in the
driveway. Huftalin was aware that in November 2005, Gocha had been in a traffic accident
in Wisconsin, and that a firearm and drugs were found in Gocha’s vehicle. Also, earlier
in October 2006, officers had received a report from a confidential source suggesting Gocha
was in the methamphetamine business. Huftalin knew Gocha had a gun permit and there
were firearms on the property.
      Gocha admitted to Huftalin that he had had an argument with Lewis, but he denied
striking her, stating instead that she had struck him. Huftalin asked if anyone else was on
the property, and Gocha told him Aaron Hermen was in the shop. Huftalin then advised


       2
         The evidence does not reveal whether Aaron Hermen had re-entered the shop building by this
point, or whether Gocha told Aaron to return to shop building and wait inside.

                                                3


    Case 6:07-cr-02006-LTS-MAR            Document 32       Filed 07/03/07      Page 3 of 16
Gocha that he was getting nervous about the situation, and he was going to place Gocha in
handcuffs for officer safety. Huftalin did not have his handcuffs with him, but Gocha was
cooperative while Huftalin located his handcuffs, put them on Gocha, and placed Gocha in
his squad car.
      Huftalin then spoke with Lewis, who confirmed that she and Gocha had been in an
argument, but she stated Gocha had pushed her first and she had struck him in response.
She told Huftalin that she believed there were drugs and other people on the property.
Huftalin went to the shop, opened the unlocked door, and found Aaron Hermen in the shop.
Huftalin asked if anyone else was in the shop, and Hermen responded, “No.”
      Deputy Beaver and another officer arrived at the scene. Beaver was briefed by
Huftalin, and then spoke with Lewis. Lewis acknowledged that she had had an argument
with Gocha, and stated she had accused him of being a drug user. She told Beaver that
Gocha had pushed her, and she had responded by hitting him. She said that when she told
Gocha she was going to call 911, he threatened to kill her if she made the call.
      Lewis told Beaver she believed there were other people on the property in addition
to Aaron Herman, and she wanted them out. She then provided the officers with verbal
consent to search the property. Beaver then spoke with Aaron Hermen, who stated he was
on the property to do some work for Gocha. He denied that he was there to use drugs.
Hermen was told to leave the property, and he did so.
      A short time later, Trooper McNally and another officer arrived, and Huftalin told
them the area had not been cleared and asked them to do so. Beaver then had a short
discussion with Gocha, placed him under arrest for domestic assault, and moved him to his
patrol car. Beaver told Huftalin to go to the station and start working on a search warrant
application, and then Beaver transported Gocha to the Mitchell County Jail.
      McNally and the other officer then began a sweep of the property. At about
12:50 p.m., McNally found Hillary Hermen hiding in the attic of the shop building. Near


                                            4


    Case 6:07-cr-02006-LTS-MAR         Document 32      Filed 07/03/07    Page 4 of 16
where she was found, McNally observed in plain view a small gray tub containing glass
pipes, white powder residue, baggies, a scale, currency, and other items that were
consistent with methamphetamine distribution.
       At about 1:00 p.m., Beaver returned to the property and took a statement from
Lewis. She stated that about a month previously, she had found what she believed to be a
cap from a drug vile in her bed, but when she confronted Gocha about it, he denied that it
was a drug cap. In the early spring of 2006, she found a bag of cut-up pills and what she
thought were methamphetamine pipes in a desk drawer in the shop. She threw these items
away. After the November 2005 traffic accident, Gocha contacted her from a hospital in
Wisconsin, and asked her to have someone go to the shop and remove “his shit” because
he thought the police might be coming. Lewis concluded that Gocha was referring to guns
and drugs.
       Beaver then obtained a search warrant from a state court judge to search the
property. In the search warrant papers presented to the judge, Huftalin erroneously
included a boilerplate “Attachment A” containing information relating to the distribution
of marijuana. The search warrant was served at about 8:45 p.m. that day. At about the
time the search warrant was being served, Beaver obtained Lewis’s signature on a written
permission-to-search form designating the property as the area to be searched.
       Among the items seized during the search were certain computers and related
hardware and software. Officers later obtained a second search warrant to search these
items, and later still obtained a third search warrant to further search other computer-related
equipment and documents.




                                              5


    Case 6:07-cr-02006-LTS-MAR          Document 32       Filed 07/03/07     Page 5 of 16
                                       DISCUSSION
                             A. Request for Franks Hearing
       Gocha argues Beaver deliberately or recklessly included certain false or erroneous
information in the warrant affidavit, and if this information had been left out of the
affidavit, probable cause would have been lacking. He asks for a hearing pursuant to
Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978). Under
Franks, the court is required to hold a hearing “where the defendant makes a substantial
preliminary showing that a false statement knowingly and intentionally, or with reckless
disregard for the truth, was included by the affiant in the warrant affidavit, and if the
allegedly false statement is necessary to the finding of probable cause[.]” 438 U.S. at 155-
56, 98 S. Ct. at 2676. Further,
              [i]n the event that at that hearing the allegation of perjury or
              reckless disregard is established by the defendant by a prepon-
              derance of the evidence, and, with the affidavit’s false material
              set to one side, the affidavit’s remaining content is insufficient
              to establish probable cause, the search warrant must be voided
              and the fruits of the search excluded to the same extent as if
              probable cause was lacking on the face of the affidavit.
438 U.S. at 156, 98 S. Ct. at 2676. The same principles are true for material that is
omitted from (rather than included in) a warrant affidavit. United States v. Ketzeback, 358
F.3d 987, 990 (8th Cir. 2004).
       Under Franks, before a defendant is entitled to a hearing, he must make a substantial
preliminary showing that either relevant information was omitted from the affidavit, or false
information was included in the affidavit, either intentionally or with reckless disregard for
the truth. The substantiality requirement is not easily met. See United States v. Hiveley,
61 F.3d 1358, 1360 (8th Cir. 1995); United States v. Wajda, 810 F.2d 754, 759 (8th Cir.
1987). When no proof is offered that an affiant deliberately lied or recklessly disregarded
the truth, a Franks hearing is not required. United States v. Williams, 477 F.3d 554, 557-


                                              6


    Case 6:07-cr-02006-LTS-MAR          Document 32       Filed 07/03/07    Page 6 of 16
58 (8th Cir. 2007) (citing Franks); U.S. v. Moore, 129 F.3d 989, 992 (8th Cir. 1997). “A
mere allegation standing alone, without an offer of proof in the form of a sworn affidavit
of a witness or some other reliable corroboration, is insufficient to make the difficult
preliminary showing.” Moore, 129 F.3d at 992 (citing Franks, 438 U.S. at 171); see
Ketzeback, supra;3 United States v. Reivich, 793 F.2d 957, 961 (8th Cir. 1986). The
defendant also must show “that the allegedly false statement was necessary to a finding of
probable cause or that the alleged omission would have made it impossible to find probable
cause.” United States v. Mathison, 157 F.3d 541, 548 (8th Cir. 1998).
       In the present case, Gocha argues Beaver wrongfully included the attachment
concerning marijuana with the search warrant application, and he is entitled to a probable
cause hearing under Franks to review whether there was sufficient probable cause to
support the issuance of the warrant in the absence of the attachment.
       On this record, Gocha has not made the requisite showing to warrant a Franks
hearing. It is obvious the marijuana attachment was simply ignored by everyone who
looked at the search warrant application, and had no bearing on the finding of probable
cause by the state court judge. Further, there is no evidence that Beaver deliberately or
recklessly included the boilerplate marijuana attachment with his search warrant application.
       If anything, this mixup is an indictment of the over-reliance by law enforcement on
form attachments and on “cutting and pasting” in the preparation of search warrant

        3
        In Ketzeback, the court held:
               A facially valid warrant affidavit is constitutionally infirm if the defendant
               establishes the affidavit included deliberate or reckless falsehoods that,
               when redacted, render the affidavit’s factual allegations insufficient to
               support a finding of probable cause. Franks v. Delaware, 438 U.S. 154,
               171, 98 S. Ct. 2674, 57 L. Ed. 2d 667 (1978). Omissions likewise can
               vitiate a warrant if the defendant proves “first that facts were omitted with
               the intent to make, or in reckless disregard of whether they make, the
               affidavit misleading, and, second, that the affidavit, if supplemented by
               the omitted information, could not support a finding of probable cause.’”
               United States v. Allen, 297 F.3d 790, 795 (8th Cir. 2002).
Ketzeback, 358F.3d 987, 990 (8th Cir. 2004).

                                                     7


    Case 6:07-cr-02006-LTS-MAR                Document 32          Filed 07/03/07        Page 7 of 16
applications. This is understandable in light of the time pressures inherent in obtaining
search warrants, where often a large number of law enforcement officials are waiting,
sometimes late into the night, for the issuance of a warrant so they can begin their work.
Incidents like this one would not occur, however, if more care were taken in the
preparation, review, and issuance of warrant papers.
       Although there certainly was negligence in the preparation of the search warrant
application, the court cannot find on this record that the error was deliberate or reckless.
Franks does not apply to negligent misrepresentations. See United States v. Schmitz, 181
F.3d 981, 986 (8th Cir. 1999).4 Even though this case was, from the beginning, about
methamphetamine and guns, and never about marijuana, it is obvious that no one, including
the state court judge and the Assistant County Attorney who reviewed the search warrant
application, noticed the mistake.
       Beaver testified the marijuana attachment’s inclusion in his application for a search
warrant was an honest mistake. The court credits this testimony. Gocha is not entitled to
a Franks hearing.


                             B. Pre-Warrant Search of the Property
       Gocha argues the officers violated his rights under the Fourth Amendment to the
United States Constitution when they conducted a pre-warrant “protective sweep” of the
property. (Doc. No. 22-1, p. 2.) The Government responds by arguing that a complete
search of the property was justified based on the verbal and written consents given to the



        4
          “[I]n the context of a Franks v. Delaware inquiry, we have declined to adopt a definition of
‘reckless disregard’ that incorporates the ‘subjective’ versus ‘objective’ terminology and have instead
explained that the test for determining whether an affiant’s statements were made with reckless disregard
for the truth is not simply whether the affiant acknowledged that what he [or she] reported was true, but
whether, viewing all the evidence, the affiant must have entertained serious doubts as to the truth of his [or
her] statements or had obvious reasons to doubt the accuracy of the information he [or she] reported.”
United States v. Schmitz, 181 F.3d 981, 986-87 (8th Cir. 1999).

                                                     8


    Case 6:07-cr-02006-LTS-MAR                Document 32          Filed 07/03/07        Page 8 of 16
officers by Lewis, the co-owner of the property. The Government also argues the officers
were entitled to conduct a protective search of the property based on considerations of
officer safety and the community care-taking function of the police. To address the
Government’s first argument, that Lewis’s verbal and written consents to search justified
a complete search of the property, the court first must resolve several factual disputes.
       Gocha testified that while he was seated in Beaver’s patrol car immediately before
he was transported to the Mitchell County Jail, he specifically told Beaver, “I don’t want
anybody in my shop,” or “I don’t want anyone going in my shop.” Beaver denies Gocha
made such a statement. The court finds Gocha did not make any statement to the officers
advising them he did not want them to search his property. Gocha’s testimony that he made
such a statement to the officers is not credible. Furthermore, there is no reference to any
such statement in any of the police reports or in any of Gocha’s filings in this case prior to
the suppression hearing.
       Aaron Hermen and Hillary Hermen both testified that during the sweep of the shop,
the officers did not look just for people hiding in the shop, but looked through drawers,
papers, and other items. The officers testified that during the protective sweep, they
searched only for people, and did not conduct any further search. The court finds the
testimony of Aaron Hermen and Hillary Hermen is not credible, and the officers did not
conduct a search of the shop during the course of the sweep of the property beyond
searching for people hiding in the shop.
       There is conflicting evidence in the record concerning whether Lewis had common
authority with Gocha over the shop building. The following statement is contained in the
affidavit of Deputy Beaver attached to the search warrant application: “Niky [Lewis] stated
to this deputy that she is not allowed to go into the shop west of her home. She does not
have a key to the shop.” The court finds Lewis gave her statement to Beaver after officers
had begun their sweep of the property, and after officers had found Hillary Hermen and the


                                              9


    Case 6:07-cr-02006-LTS-MAR          Document 32       Filed 07/03/07    Page 9 of 16
tub of methamphetamine-related items in the attic. Lewis also gave a handwritten statement
to Beaver in which she stated the following:
             I asked him to look at himself. I said why are you such a
             fucken tweeker [drug user] & why are you doing this to your
             family. Les [Gocha] said what do you want. Did you want
             something. I said I have the right to know what is going on
             here. He told me nothing. I tryed [sic] to look inside of where
             he was sleeping. He blocked my doing so & said nothing. Les
             told me to just leave. I told him not til I know what was going
             on. Les told me that he was just a looser [sic] & I needed to
             move on. I told him again that I wanted to know what was in
             the area where he was sleeping. He would not let me in. Les
             said just fucking leave. I told him that I had every right to be
             here as this was my house to[o].
Gov’t. Ex. 3 (emphasis added). This statement also was written after the officers had
begun their sweep of the property. Thus, the court finds Lewis’s written consent to search
did not justify a complete search of the property. The court next will examine whether
Lewis’s verbal consent to search justified a complete search of the property.
      The Government has the burden of establishing an exception to the Fourth
Amendment’s warrant requirement by a preponderance of the evidence. See United States
v. Basinski, 226 F.3d 829, 833 (7th Cir. 2000); United States v. Jaras, 86 F.3d 383, 389
(5th Cir. 1996).
             It is well established that warrantless searches violate the
             Fourth Amendment unless they fall within a specific exception
             to the warrant requirement, United States v. Karo, 468 U.S.
             705, 717, 104 S. Ct. 3296, 3304, 82 L. Ed. 2d 530 (1984), and
             that consent is “one of the specifically established exceptions to
             the requirements of both a warrant and probable cause.”
             Schneckloth v. Bustamonte, 412 U.S. 218, 219, 93 S. Ct. 2041,
             2043-44, 36 L. Ed. 2d 854 (1973). . . .
Jaras, 86 F.3d at 388.




                                            10


    Case 6:07-cr-02006-LTS-MAR        Document 32       Filed 07/03/07     Page 10 of 16
      The analysis begins with the “obvious” standard recognized by the Supreme Court
in United States v. Karo, 468 U.S. 705, 715, 104 S. Ct. 3296, 3303, 82 L. Ed. 2d 530
(1984):
                    At the risk of belaboring the obvious, private residences
             are places in which the individual normally expects privacy free
             of governmental intrusion not authorized by a warrant, and that
             expectation is plainly one that society is prepared to recognize
             as justifiable. Our cases have not deviated from this basic
             Fourth Amendment principle. Searches and seizures inside a
             home without a warrant are presumptively unreasonable absent
             exigent circumstances. Welsh v. Wisconsin, 466 U.S. 740,
             748-749, 104 S. Ct. 2091, 2097, 80 L. Ed. 2d 732 (1984);
             Steagald v. United States, 451 U.S. 204, 211-212, 101 S. Ct.
             1642, 1647-1648, 68 L. Ed. 2d 38 (1981); Payton v. New York,
             445 U.S. 573, 586, 100 S. Ct. 1371, 1380, 63 L. Ed. 2d 639
             (1980).
      A significant difference exists, however, between a warrantless search, even one
based on probable cause, and a search conducted with the consent of one who has “common
authority over or other sufficient relationship to the premises or effects sought to be
inspected.” United States v. Matlock, 415 U.S. 164, 171, 94 S. Ct. 998, 993, 39 L. Ed.
2d 242 (1974). “‘[W]here two persons have equal rights to the use or occupation of
premises, either may give consent to a search, and the evidence thus disclosed can be used
against either.’” Id., 415 U.S. at 169 n.4, 94 S. Ct. at 992 n.4.
             The Fourth Amendment recognizes a valid warrantless entry
             and search of premises when police obtain the voluntary
             consent of an occupant who shares, or is reasonably believed to
             share, authority over the area in common with a co-occupant
             who later objects to the use of evidence so obtained. Illinois v.
             Rodriguez, 497 U.S. 177, 110 S. Ct. 2793, 111 L. Ed. 2d 148




                                            11


    Case 6:07-cr-02006-LTS-MAR        Document 32      Filed 07/03/07     Page 11 of 16
             (1990); United States v. Matlock, 415 U.S. 164, 94 S. Ct. 988,
             39 L. Ed. 2d 242 (1974).
Georgia v. Randolph, 547 U.S. 103, ___, 126 S. Ct. 1515, 1518, 164 L. Ed. 2d 208
(2006). “[T]he exception for consent extends even to entries and searches with the
permission of a co-occupant whom the police reasonably, but erroneously, believe to
possess shared authority as an occupant[.]”      Randolph, 126 S. Ct. at 1520 (citing
Rodriguez, 497 U.S. at 186, 110 S. Ct. at 2793); see United States v. Hilliard, ___ F.3d
____, 2007 WL 1713315 (8th Cir. June 15, 2007) (citing Rodriguez).
      For Lewis’s consent to search the shop building to be valid, the Government must
demonstrate that Lewis shared, or reasonably was believed to share, authority over the
areas searched. If the Government fails to sustain this burden, the evidence must be
suppressed. Basinski, 226 F.3d at 834. To establish actual authority, the Government must
show the following:
             A finding of actual authority requires proof that the consenting
             party and the party challenging the search “mutually used the
             property searched and had joint access to and control of it for
             most purposes, so that it is reasonable to recognize that either
             user had the right to permit inspection of the property and that
             the complaining co-user had assumed the risk that the
             consenting co-user might permit the search.” United States v.
             Rizk, 842 F.2d 111, 112-13 (5th Cir.) (per curiam), cert.
             denied, 488 U.S. 832, 109 S. Ct. 90, 102 L. Ed. 2d 66 (1988).
Jaras, 86 F. 3d at 389; see United States v. Fultz, 146 F.3d 1102, 1105 (9th Cir. 1998)
(citation omitted). “It is well established that an adult co-occupant of a residence may
consent to a search[.]” United States v. Jones, 193 F.3d 948, 950 (8th Cir. 1999) (citing
United States v. Reeves, 730 F.2d 1189, 1193-94 (8th Cir. 1984)).
      To establish apparent authority, the Government must show “a reasonable person,
with the same knowledge of the situation as that possessed by the government agent to
whom consent was given, would reasonably believe that the third party had authority over


                                           12


    Case 6:07-cr-02006-LTS-MAR        Document 32      Filed 07/03/07    Page 12 of 16
the area to be searched.” Basinski, 226 F.3d at 834 (citing Illinois v. Rodriguez, 497 U.S.
177, 188, 110 S. Ct. 2793, 111 L. Ed. 2d 148 (1990); United States v. Chaidez, 919 F.2d
1193, 1201 (7th Cir. 1990)); see also Welsh v. Wisconsin, 466 U.S. 740, 748-49, 104 S.
Ct. 2091, 2097, 80 L. Ed. 2d 732 (1984).
       The question here is whether Lewis either had actual authority, or the officers
reasonably could have believed she had common authority, to consent to a search of the
shop building.5 See Matlock, 415 U.S. at 170, 94 S. Ct. at 992. To uphold Lewis’s
consent to search the shop building, the court need only find that “‘the facts available . . .
justified a reasonable officer in the belief that the consenting party [Lewis] had authority
over the premises,’” and could consent to a search of the entire premises by authorities.
United States v. Oates, 173 F.3d 651, 657 (8th Cir. 1999) (quoting United States v. Czeck,
105 F.3d 1235, 1239 (8th Cir. 1997)).
       The court finds the facts available to the officers when they conducted their sweep
of the property justified a belief that Lewis had authority over the entire premises, including
the shop building, and that she had consented to a search of the entire premises. The
officers knew Lewis lived on the property. When the officers arrived, she was on the
property, locked in her vehicle. After speaking with Lewis and Gocha, the officers knew
that a short time before they arrived, Lewis and Gocha had had a confrontation on the
property. Lewis told the officers she believed there was someone else on the premises in
addition to Aaron Hermen, and she wanted them removed. The officers had ample reason
to believe Lewis had control over the premises and the authority to consent to a search of
the premises. Notably, at the time of the sweep, the officers did not know Gocha had
locked the shop building, or that Lewis might have some doubt about her authority to enter




        5
         There is no question that Lewis had actual authority to consent to the search of the remainder of
the property.

                                                   13


    Case 6:07-cr-02006-LTS-MAR              Document 32         Filed 07/03/07       Page 13 of 16
the shop building without Gocha’s permission -- that information came to the officers’
attention later.
       The Government argues alternatively that the officers were authorized to conduct a
protective sweep of the property even if no valid consent to search was given. The United
States Supreme Court explained in Maryland v. Buie, 494 U.S. 325, 327-28, 110 S. Ct.
1093, 108 L. Ed. 2d 276 (1990):
                     A “protective sweep” is a quick and limited search of
              premises, incident to an arrest and conducted to protect the
              safety of police officers or others. It is narrowly confined to a
              cursory visual inspection of those places in which a person
              might be hiding. . . . We conclude that the Fourth Amendment
              would permit the protective sweep undertaken here if the
              searching officer “possesse[d] a reasonable belief based on
              ‘specific and articulable facts which, taken together with the
              rational inferences from those facts, reasonably warrant[ed]’ the
              officer in believing,” Michigan v. Long, 463 U.S. 1032,
              1049-1050, 103 S. Ct. 3469, 3480-3481, 77 L. Ed. 2d 1201
              (1983) (quoting Terry v. Ohio, 392 U.S. 1, 21, 88 S. Ct. 1868,
              1880, 20 L. Ed. 2d 889 (1968)), that the area swept harbored
              an individual posing a danger to the officer or others.
Id., 494 U.S. at 327-28, 110 S. Ct. at 1094-95. Such a protective sweep “is nevertheless
not a full search of the premises, but . . . lasts no longer than is necessary to dispel the
reasonable suspicion of danger and in any event no longer than it takes to complete the
arrest and depart the premises.” Id., 494 U.S. at 335, 110 S. Ct. at 1099.
       There is some question here as to whether a protective sweep was appropriate in
these circumstances. This is not a drug case, for example, where the fact that other persons
might be present on a premises creates a potentially dangerous situation for the investigating
officers, but courts have upheld protective sweeps in other situations, as well. See, e.g.,
United States v. Davis, 471 F.3d 938, 944 (8th Cir. 2006) (upholding protective sweep in
drug case); United States v. Hawkins, 59 F.3d 723, 727-28 (8th Cir. 1996) (upholding
protective sweep in domestic situation). Also, here, the suspected aggressor was in custody

                                             14


    Case 6:07-cr-02006-LTS-MAR         Document 32       Filed 07/03/07    Page 14 of 16
in a patrol car, and the situation appeared to be entirely stable. Compare United States v
Waldner, 425 F.3d 514, 517 (8th Cir. 2005) (protective sweep exceeded Fourth
Amendment where there was no evidence officers had any articulable facts that an unknown
individual might be in the house, ready to launch an attack) with United States v. Jansen,
470 F.3d 762, 765 (8th Cir. 2006) (officer was reasonable in concluding he needed to
secure a trailer before leaving to get a search warrant).
       However, the court does not need to address the “protective sweep” issue because
of the finding, above, that the officers had a valid consent to search the property when they
conducted their sweep of the property.


                                 C. The Search Warrants
       Finally, Gocha argues all three of the search warrants were tainted by the prior
illegality of the earlier warrantless searches of his residence and the shop. (Doc. No. 22-1,
p. 2.) Because the court has found the initial consent search was lawful, there is no taint
attached to any of the search warrants.


                                      CONCLUSION
       For the reasons discussed above, IT IS RESPECTFULLY RECOMMENDED that
Gocha’s motion to suppress be denied.
       Any party who objects to this report and recommendation must serve and file
specific, written objections by July 16, 2007. Any response to the objections must be
served and filed by July 23, 2007.
       IMPORTANT NOTE: Any party planning to lodge any objection to this report and
recommendation must order a transcript of the hearing promptly, but not later than July 6,
2007, regardless of whether the party believes a transcript is necessary to argue the
objection. If an attorney files an objection to this report and recommendation without


                                             15


    Case 6:07-cr-02006-LTS-MAR         Document 32      Filed 07/03/07     Page 15 of 16
having ordered the transcript as required by this order, the court may impose sanctions on
the attorney.
      In addition, to allow sufficient time for the parties to review this report and
recommendation, to file such objections as they deem advisable, and for the district court
to issue a final opinion on Gocha’s motion, the trial of this case, currently scheduled for
August 6, 2007, is continued to September 4, 2007. The time from the date of Gocha’s
motion (June 1, 2007), to the date of trial is excluded for purposes of speedy trial
calculations. 18 U.S.C. § 3161(h)(1)(F) & (J).
      IT IS SO ORDERED.
      DATED this 3rd day of July, 2007.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




                                            16


    Case 6:07-cr-02006-LTS-MAR        Document 32      Filed 07/03/07    Page 16 of 16
